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EXHIBIT A
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SETTLEMENT AGREEMENT AND RELEASE

This Settlement Agreement and Release (“Agreement”) is entered into by and
between ERICKA RICHARDSON (“RICHARDSON”) and DEIRDRE LOCKETT-LYKE
(“LOCKETT-LYKE”) (collectively, “EMPLOYEES”), and VONTRONIX INC., RON
POLLI (“POLLI”), and RANDY SCHLEUSS (“SCHLEUSS”) (collectively,
“EMPLOYER?”), (together, the “Parties’’).

WHEREAS, EMPLOYER wishes to avoid further expense, inconvenience and
controversy in connection with litigating any and all claims and/or disputes, whether asserted or
unasserted, that EMPLOYEES have or could have against EMPLOYER; and

WHEREAS, the parties now wish to enter into a settlement ofall wage claims arising
out of EMPLOYEES’ employment with and separation from EMPLOYER as set forth in an
action styled Richardson, et al. v. Vontronix Inc., et al., 1:19-CV-19339 (MAS)(LHG)
(D.N.J. 2019) pending in the United States District Court for the District of New Jersey.

NOW THEREFORE, in consideration of the mutual agreements contained herein and
for other good cause and valuable consideration, the parties agree as follows:

l, Consideration. Subject to the occurrence of all of the events listed in this paragraph
and subdivisions, within one hundred and thirty-five (135) days of EMPLOYEES providing
an executed copy of the Agreement and Valli Kane & Vagnini LLP (“VK V”) providing a
Form W-9, EMPLOYER agrees to pay EMPLOYEES the total gross amount of Thirty-Five
Thousand Dollars and Zero Cents ($35,000.00), inclusive of any and all fees and costs (the
“Settlement Amount”), by delivering payments to EMPLOYEES’ Counsel Valli Kane &
Vagnini LLP, 600 Old Country Road, Suite 519, Garden City, New York 11530, in five (5)
installments as follows:

a. First Installment: Within fifteen (15) days of EMPLOYEES providing an executed copy
of the Agreement and VKV providing a Form W-9, EMPLOYER shall make a payment
via check to RICHARDSON in the amount of Two Thousand Seven Hundred Fifty-Five
Dollars and Sixty Cents ($2,755.60), reportable on IRS Form 1099, a payment via check
to LOCKETT-LYKE in the amount of One Thousand Seven Hundred Forty-Four Dollars
and Forty Cents ($1,744.40), reportable on IRS Form 1099, and a payment via check to
Valli Kane & Vagnini LLP, in the amount of Three Thousand Dollars and Zero Cents
($3,000.00), representing EMPLOYEES’ attorneys’ fees and costs as counsel to
EMPLOYEES in this matter.

b. Second Installment: Within forty-five (45) days of EMPLOYEES providing an executed
copy of the Agreement, EMPLOYER shall make a payment via check to RICHARDSON
in the amount of Two Thousand Three Hundred Eighty-Five Dollars and Ten Cents
($2,385.10), reportable on IRS Form 1099, a payment via check to LOCKETT-LYKE in
the amount of One Thousand Four Hundred Eighty-Nine Dollars and Ninety Cents
($1,489.90), reportable on IRS Form 1099, and a payment via check to Valli Kane &
Vagnini LLP, in the amount of Three Thousand Dollars and Zero Cents ($3,000.00),
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representing EMPLOYEES’ attorneys’ fees and costs as counsel to EMPLOYEES in this
matter.

c. Third Installment: Within seventy-five (75) days of EMPLOYEES providing an executed
copy of the Agreement, EMPLOYER shall make a payment via check to RICHARDSON
in the amount of Two Thousand Three Hundred Eighty-Five Dollars and Ten Cents
($2,385.10), reportable on IRS Form W-2, a payment via check to LOCKETT-LYKE in
the amount of One Thousand Four Hundred Eighty-Nine Dollars and Ninety Cents
($1,489.90), reportable on IRS Form W-2, and a payment via check to Valli Kane &
Vagnini LLP, in the amount of Three Thousand Dollars and Zero Cents ($3,000.00),
representing EMPLOYEES’ attorneys’ fees and costs as counsel to EMPLOYEES in this
matter,

d. Fourth Installment: Within one hundred five (105) days of EMPLOYEES providing an
executed copy of the Agreement, EMPLOYER shall make a payment via check to
RICHARDSON in the amount of Two Thousand Three Hundred Eighty-Five Dollars and
Ten Cents ($2,385.10), reportable on IRS Form W-2, a payment via check to LOCKETT-
LYKE in the amount of One Thousand Four Hundred Eighty-Nine Dollars and Ninety
Cents ($1,489.90), reportable on IRS Form W-2, and a payment via check to Valli Kane &
Vagnini LLP, in the amount of Three Thousand Dollars and Zero Cents ($3,000.00),
representing EMPLOYEES’ attorneys’ fees and costs as counsel to EMPLOYEES in this
matter.

e. Fifth Installment: Within one hundred thirty-five (135) days of EMPLOYEES providing
an executed copy of the Agreement, EMPLOYER shall make a payment via check to
RICHARDSON in the amount of Two Thousand Three Hundred Eighty-Five Dollars and
Ten Cents ($2,385.10), reportable on IRS Form W-2, a payment via check to LOCKETT-
LYKE in the amount of One Thousand Four Hundred Eighty-Nine Dollars and Ninety
Cents ($1,489.90), reportable on IRS Form W-2, and a payment via check to Valli Kane &
Vagnini LLP, in the amount of Three Thousand Dollars and Zero Cents ($3,000.00),
representing EMPLOYEES’ attorneys’ fees and costs as counsel to EMPLOYEES in this
matter.

If EMPLOYER is untimely in making a settlement payment, EMPLOYEES’ counsel
shall provide written notice to EMPLOYER’S counsel, Lawrence H. Shapiro and Rahool Patel
of Ansell Grimm & Aaron, P.C., and EMPLOYEES will then have five (5) days to cure. Should
EMPLOYER fail to cure the failure to pay, EMPLOYER agrees that all monies still due and
owing EMPLOYEES under this Agreement will be accelerated and therefore come due
immediately. EMPLOYER agrees that in the event all monies still due and owing are accelerated
EMPLOYEES will be entitled to enter a Judgment against EMPLOYER for the full amount of
all monies owed. EMPLOYER agrees to pay any and all reasonable attorneys’ fees and costs
incurred by EMPLOYEES relating to the enforcement of any portion of this paragraph.

2. Tax Liability. EMPLOYEES agree and understand that if a government taxing authority
determines that any local, state, and/or federal taxes on those payments and/or any penalties or
assessments thereon are due, they are responsible for payment, except the Employer shall be
responsible for all federal, state, local and employment taxes customarily owed by an Employer.
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3. Release of Claims. In consideration of the foregoing payment, EMPLOYEES each
hereby release and discharge EMPLOYER from each and every right, claim, debt, and cause of
action whatsoever, asserted against EMPLOYER by EMPLOYEES in the action styled
Richardson, et al. v. Vontronix Inc., et al., 1:19-CV-19339 (MAS)(LHG) (D.N.J. 2019).
Accordingly, this release includes only wage-related claims asserted by EMPLOYEES of
unpaid minimum wage, unpaid overtime, back pay, and liquidated damages under state or
federal law arising during employment with or by EMPLOYER pursuant to the Fair Labor
Standards Act, the New Jersey State Wage and Hour Law, and the Virginia Minimum Wage
Act,

4, Non-Interference, Nothing in this Agreement shall interfere with the EMPLOYEES’
right to file a charge, cooperate, or participate in an investigation or proceeding conducted by
the Equal Employment Opportunity Commission, or other federal or state regulatory or law
enforcement agency.

5. Neutral Reference. EMPLOYER agrees that if it is contacted by a future prospective
employer, EMPLOYER will only respond by providing EMPLOYEES’ dates of employment
and last job title and indicate that it is company policy to do so.

6. Governing Law and Interpretation. This Agreement and Release shall be governed and
conformed in accordance with the laws of the state of New Jersey. In the event of a breach of
any provision of this Agreement and Release, either Party may institute an action specifically
to enforce any term or terms of this Agreement and Release and/or seek any damages for breach.

7. Unenforceability. Should any provision of this Agreement and Release be declared
illegal or unenforceable by any court of competent jurisdiction and cannot be modified to be
enforceable, the enforceability of the remaining provisions of this Agreement and Release will
not be impaired.

8, Non-admission of Wrongdoing. The Parties agree that neither this Agreement and
Release nor the furnishing of the consideration for this Agreement and Release shall be deemed
or construed at any time for any purpose as an admission by either Party of wrongdoing or
evidence of any liability or unlawful conduct of any kind.

 

9. Amendment. This Agreement and Release may not be modified, altered, or changed
except in writing and signed by both Parties wherein specific reference is made to this
Agreement and Release.

10. Execution of Agreement. This Agreement may be executed in counterparts, and/or by
facsimile or electronic copy, each of which shall be deemed to be an original and all of which
together shall be deemed to be one and the same agreement.

11. Entire Agreement. This Agreement and Release sets forth the entire agreement between
the Parties hereto, and fully supersedes any prior agreements or understandings between the
Parties. EMPLOYEES acknowledges that EMPLOYEES has not relied on any representations,
promises, or agreements of any kind made to EMPLOYEES in connection with EMPLOYEES’
decision to accept this Agreement and Release, except for those set forth in this Agreement and
Release.
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12... Warranties/Representations. Each Party hereby warrants and represents that it:

a) has carefully read and fully understands this Agreement;

b) is executing this Agreement knowingly and voluntarily, without any duress, coercion, or
undue influence by the other party, its representatives, or any other person; and

c) has been represented by and/or given the opportunity to consult with legal counsel of
choice in this matter, including negotiation of this agreement, and had had ample

opportunity to consult with legal counsel of choice before executing this Agreement.

  

EMPLOYEES ARE ADVISED TO CONSULT WITH AN ATTORNEY PRIOR TO
EMPLOYEES’ SIGNING OF THIS AGREEMENT AND RELEASE.

EMPLOYEES MAY REVOKE THIS AGREEMENT AND RELEASE FOR A PERIOD OF
SEVEN (7) CALENDAR DAYS FOLLOWING THE DAY EMPLOYEES SIGN THIS
AGREEMENT AND RELEASE. ANY REVOCATION WITHIN THIS PERIOD MUST BE
SUBMITTED, IN WRITING, TO EMPLOYER AND STATE, “I HEREBY REVOKE MY
ACCEPTANCE OF OUR AGREEMENT AND RELEASE.” THE REVOCATION MUST BE
MAILED TO EMPLOYER AND POSTMARKED WITHIN SEVEN (7) CALENDAR DAYS
AFTER EMPLOYEES SIGN THIS AGREEMENT AND RELEASE,

If the last day of the Revocation Period falls on a Saturday, Sunday or legal holiday, the last day
of the Revocation Period will be deemed to be the next business day. Unless revoked by
EMPLOYEES as set forth in this paragraph, this Agreement and Release shall become effective
and enforceable on the eighth (8th) day after its execution by EMPLOYEES.

EMPLOYEES FREELY AND KNOWINGLY, AND AFTER DUE CONSIDERATION,
ENTER INTO THIS AGREEMENT AND RELEASE INTENDING TO WAIVE,
SETTLE AND RELEASE THOSE CLAIMS SET FORTH ABOVE AS AGAINST
EMPLOYER.

The Parties knowingly and voluntarily sign this Agreement and Release as of the date(s) set forth
below:

 

 

 

 

 

 

ERICKA RICHARDSON VONTRONIX INC. — RON POLLI
By: By:

Date: Date:

DEIRDRE LOCKETT-LYKE RON POLLI

By: By:

Date: Date:

 

 
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RANDY SCHLEUSS

By:

 

Date:

 
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

ERICKA RICHARDSON; and DEIRDRE
LOCKETT-LYKE,
Plaintiffs,
Vs Case No.: 1:19-C V-19339 (MAS)(LHG)

VONTRONIX INC.; RON POLLI, individually and as an
Officer, Director, and/or Principal of VONTRONIX INC.;
and RANDY SCHLEUSS, individually and as an Officer,
Director, and/or Principal of VONTRONIX INC.,

Defendants.

 

AFFIDAVIT FOR CONFESSION OF JUDGMENT
STATE OF
COUNTY OF SS.!
RON POLLT, being duly sworn, deposes and says:

a. Jaman individually named Defendant in this action and have a residence address of

 

 

 

b. Jam an officer and owner of Defendant Vontronix Inc. (“Vontronix”) and am authorized to sign on
their behalf.

c. Defendant Vontronix, myself and co-owner Randy Schleuss, hereby confess judgment in this Court
in favor of the Plaintiffs, Erika Richardson and Deirdre Lockett-Lyke, in the sum of $35,000.00
less any monies paid to Plaintiffs pursuant to the Agreement, plus attorneys’ fees and costs to be
determined by a court of competent jurisdiction related to collection of moneys related thereto,
together with simple interest from February __, 2020, computed at a rate of 2.25% per annum, plus
costs and disbursements, less amounts paid pursuant to the Agreement dated in or around February
___, 2020, and do hereby authorize the Plaintiffs or assigns to enter judgment for said amount.

d. I authorize entry of judgment in the United States District Court for the District of New Jersey
appearing in the caption above.
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e, Judgment is not confessed with fraudulent intent or to protect the property of the Defendants from
creditors.

f. This confession of judgment is not for the purpose of securing Plaintiffs against a contingent liability,
and is not an installment loan within the prohibition of any applicable law. Plaintiffs cannot recover
more than the total amount of this judgment from Defendant Vontronix or its owners.

 

 

 

 

 

 

 

 

Vontronix Inc. — Ron Polli Date
Ron Polli in his individual capacity Date
Randy Schleuss in his individual capacity Date
Sworn to before me this day of ,

NOTARY PUBLIC

My commission expires on:
